         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07CR32


UNITED STATES OF AMERICA                   )
                                           )
                                           )
           VS.                             )            ORDER
                                           )
                                           )
DARIAN KENDALL ROBINSON                    )
                                           )


     THIS MATTER is before the Court on motion of Defendant’s

appellate counsel for an order releasing a copy of the Statement of

Reasons filed with the Defendant’s Judgment.

     For the reasons set forth in the motion,

     IT IS, THEREFORE, ORDERED that counsel’s motion for a copy of

the Statement of Reasons filed with the Defendant’s Judgment is

ALLOWED. The Clerk of Court is hereby authorized to make available this

document to appellate counsel forthwith.


                                     Signed: December 12, 2008




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